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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-10-513 (2-3)
                                                  §
                                                  §
MONTRACE PIER                                     §
ANRAY DERSHAN ADKINS                              §

                                                ORDER

       Defendant Adkins filed a motion for continuance. (Docket Entry No. 84). The government

and codefendant Pier are unopposed to the motion. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the public and

the defendants in a speedy trial. The motion for continuance is GRANTED. The docket control

order is amended as follows:

       Motions are to be filed by:                     July 11, 2011
       Responses are to be filed by:                   July 25, 2011
       Pretrial conference is reset to:                August 1, 2011 at 8:45 a.m.
       Jury trial and selection are reset to:          August 8, 2011 at 9:00 a.m.

               SIGNED on May 5, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
